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AO 83 (Rev. 06/09) Summons in a Criminal Case FILED ____ LODGED
SSSrecir cu” CUCOPY.
UNITED STATES DISTRICT COURT p
for the JUN 03 2021.
District of Arizona CLERK U $ DISTRI
DISTRICT OF ARIZONY RT
United States of America ) BY DEPUTY
v. }
) Case No. CR-17-00585-001-PHX-GMS
)
Thomas Mario Costanzo ) a>
)
Defendant )

SUMMONS IN A CRIMINAL CASE

YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

O Indictment O Superseding Indictment O Information O Superseding Information O Complaint

4 Probation Violation Petition & Supervised Release Request

for Modification Hearing O Violation Notice OO Order of Court

. wo - —
Place: 401 W. Washington Street Courtroom No:.: Courtroom 601
| Phoenix, Arizona
CHIEF JUDGE G. MURRAY SNOW Date and Time: 6/21/21 at 11:00 AM

This offense is briefly described as follows:

Request for Summons/Modification Hearing

Eth ou -Prwet

Issuing officer's signature

City and state: _Phoenix, Arizona Kathleen Zoratti, Deputy Clerk

Printed name and title

ISSEED ON 4:10 pm, May 25, 2021
s/f Dehra D, Lucas, Clerk

I declare under penalty of perjury that I have:

Oxtxcouted and returned this summons O Returned this summons unexecuted
Date: b -t-@\ Gap
a T

Server's signature

ce: USPO Michee.( Fenkshs., Deputy US. Mache /

